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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

CHAUNCIL-DANIELLE WILLIAMS,                      §
            Plaintiff,                           §
                                                 §
v.                                               §     No. 3:22-cv-02388-N (BT)
                                                 §
DALLAS COUNTY, et al.,                           §
            Defendants.                          §


               ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

         After making an independent review of the pleadings, files and records in this case, and

 the Findings, Conclusions, and Recommendation of the United States Magistrate Judge dated

 October 31, 2022, the Court finds that the findings and recommendation of the Magistrate Judge

 are correct, and they are accepted as the findings, conclusions, and recommendation of the Court.

 IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and Recommendation of the

 Magistrate Judge are accepted.

         SO ORDERED this 2nd day of December, 2022.


                                                 ________________________________
                                                 DAVID C. GODBEY
                                                 CHIEF JUDGE
